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   45 (5/97)-(Revised U.S.D.C. MA 9/20/2023)

Criminal Case Cover Sheet                                                                U.S. District Court - District of Massachusetts


Place of Offense:                              Category No.        II                   Investigating Agency

City     Canton                                    Related Case Information:
                                                   Superseding Ind./ Inf.                                   Case No.
County      Norfolk                                Same Defendant                                  New Defendant
                                                   Magistrate Judge Case Number
                                                   Search Warrant Case Number               24^842.24.6425.6426,24^363.24^59,2^000
                                                   R 20/R 40 from Disti'lct of

Defendant Information:
                                                   Is this case related to on existing criminal action pursuant to Rule        I I Yes 1^1 No
                                                   40.1(h)? If yes,case number

Defendant Name        MATTHEW FARWELL                                                              Juvenile: □ Yes 171 No
                                         Is this person an attorney and/or a member of any state/federal bar: □ Yes 0^0
Alias Name:

Address:              187 Chestnut St., North Easton, MA

Birth date (Yr only): *^985      SSN (last 4#): 9^81       gex: M               Race White                   Nationality: US Citizen

Defense Counsel if known:                                                             Address:

Bar Number:

U.S. Attorney Information

y^USA:     Riley/Cummlngs/Fogerty                                       .     Bar Number if applicable:

Interpreter:           □ Yes EZjNo                                          List language and/or dialect:

Victims:                    Yes [m] No             If yes, are there multiple crime victims under 18 USC§3771(d)(2)               Yes
Matter to be SEALED:                0 Yes          □ No
0 Warrant Requested                 0 Regular Process                   0 In Custody
Location Status:


Arrest Date:


I I Already in Federal Custody as of                                                        in

0 Already in State Custody at                                                       I I Serving Sentence                  I I Awaiting Trial
□ On Pretrial Release;         Ordered by:                                                  on



Charging Document:                   0 Complaint                 I I Information                         0 Indictment
Total# of Counts:                    0Petty                      0Misdemeanor                            0 Felony J_
                                           Continue on Page 2 for Entry of U.S.C. Citations

0        I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
         accurately set forth above.                                                                                      <—

Date: 8/27/2024                                 Signature of AUSA:                                      A A
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